                               Case 16-3945, Document 50-1, 07/17/2017, 2080216, Page1 of 1
                       UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
          Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                     MOTION INFORMATION STATEMENT

Docket Number(s):    16-3945                                                                        Caption [use short title]

Motion for:   Reinstatement of Appeal,                                        ALAN M. DERSHOWITZ,
                                                                              Intervenor-Appellant,
Consolidation with No. 17-1625, and
Extension of Time to File Opening Brief                                       v.

Set forth below precise, complete statement of relief sought:                 VIRGINIA GIUFFRE,
                                                                              Plaintiff-Appellee.
To reinstate this appeal (No. 16-3945)
and to consolidate it with No. 17 1625,
with a consolidated opening brief to be due
in both appeals by August 24, 2017.



MOVING PARTY: Alan M.              Dershowitz                                OPPOSING PARTY:       Virginia Giuffre
      9 Plaintiff                       9 Defendant
     ✔9 Appellant/Petitioner            9 Appellee/Respondent

MOVING ATTORNEY:            David A. Lebowitz                                   OPPOSING ATTORNEY: Paul           Cassell
                                                [name of attorney, with firm, address, phone number and e-mail]

Emery Celli Brinckerhoff & Abady LLP                                         S.J. Quinney College of Law
600 Fifth Avenue, 10th Floor, New York, NY 10020 383 University St., Salt Lake City, UT 84112
(212) 763-5000 / acelli@ecbalaw.com                                          (801) 585-5202 / cassellp@law.utah.edu
Court-Judge/Agency appealed from:     U.S. District Court for the Southern District of New York (Sweet, J.)
Please check appropriate boxes:                                              FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                             INJUNCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):          Has request for relief been made below?               9 Yes ✔
                                                                                                                                         9 No
       ✔9 Yes 9 No (explain):                                                Has this relief been previously sought in this Court? 9 Yes ✔
                                                                                                                                         9 No
                                                                             Requested return date and explanation of emergency:
Opposing counsel’s position on motion:
        ✔
        9 Unopposed 9 Opposed 9 Don’t Know
Does opposing counsel intend to file a response:
        9 Yes 9 No ✔     9 Don’t Know




Is oral argument on motion requested?             9 Yes ✔
                                                        9 No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?              9 Yes ✔
                                                         9 No If yes, enter date:__________________________________________________________

Signature of Moving Attorney:
 /s/ David A. Lebowitz
___________________________________Date: July 17, 2017
                                         ___________________                 Service by: ✔
                                                                                         9 CM/ECF          9 Other [Attach proof of service]



Form T-1080 (rev. 12-13)
